Case: 1:03-cr-00486-JRA Doc #: 626 Filed: 03/22/10 1 of 3. PageID #: 3049




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,                    )    CASE NO. 1:03CR486
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )    Judge Peter C. Economus
                                              )
 DAVID ANDERSON,                              )
                                              )
        Defendant.                            )    ORDER



        On November 19, 2003, the Defendant, David Anderson, was sentenced to seventy

 (70) months imprisonment, followed by four (4) years of supervised release, for conspiracy

 to possess with intent to distribute and distribution of cocaine base, a Class B felony. His

 supervised release commenced on March 5, 2008.

        On or about November 6, 2009, the Defendant’s probation officer submitted a

 violation report alleging the following violations of the terms of supervised release:

        1.     New Law Violation, Trafficking in Drugs: On October 8, 2009, the
               offender pled guilty to Drug Trafficking (Marijuana) with a School Yard
               Specification, a fourth degree felony, in Cuyahoga County Court of
               Common Pleas Case CR-09-527608 . On October 26, 2009, the
               defendant was sentenced to 1 year community control with conditions
               that he perform 150 hours of community service and complete six
               months in a Community Based Correction Facility (CBCF).

        2.     New Law Violation, Receiving Stolen Property: On August 12, 2009,
               the offender pled no contest and was found guilty of Receiving Stolen
               Property in Lakewood Municipal Court Case 2009CRB01188. He was
               sentenced to one year community control with 179 days for further
Case: 1:03-cr-00486-JRA Doc #: 626 Filed: 03/22/10 2 of 3. PageID #: 3050




               violation and ordered to pay $79.72 in restitution.

        3.     Failure to Report Law Enforcement Contact with 72 Hours: The
               offender was arrested on both of the above charges on August 10, 2009
               and failed to disclose them within 72 hours.

        4.     Association with Felons without Permission: On September 21, 2009,
               the offender reported to the U.S. Pretrial Services and Probation Office
               with Johnny Darden, who was on state parole for Robbery.

        5.     Failure to Comply with Northern District of Ohio Offender
               Employment Policy: The offender has not been consistently looking for
               work, as evidenced by presenting job logs for the entire month of
               September 2009, with only six entries.

        6.     Failure to Follow Instructions of U.S. Probation Officer: The
               offender was directed on several occasions to contact the City Mission's
               Crossroads Men's Crisis Center. He refused to do so.

        The matter was referred to Magistrate Judge James S. Gallas to conduct the

 appropriate proceedings, except for sentencing, and to prepare a report and recommendation.

 The Defendant appeared before the Magistrate Judge for an initial appearance on the alleged

 violations on March 11, 2010, and was found indigent. Counsel Timothy J. Koral was

 appointed to represent him. At the hearing, the Defendant admitted to violations one through

 six. The Magistrate Judge has issued a report and recommendation, recommending that the

 Court find that the Defendant has violated the terms of his supervised release. (Dkt. # 624).

        The Court has reviewed the Magistrate Judge’s report and recommendation and finds

 that it is well-supported. The Defendant has admitted violations one through six of the

 probation officer’s violation report. As a result, the Court finds that the Defendant has

 violated the terms of his supervised release. Because violation number one involves drug


                                              -2-
Case: 1:03-cr-00486-JRA Doc #: 626 Filed: 03/22/10 3 of 3. PageID #: 3051




 possession, pursuant to 18 U.S.C. § 3583(g)(1), the Court must revoke the term of supervised

 release and require the defendant to serve a term of imprisonment, subject to the exception

 listed in 18 U.S.C. § 3583(d). Subsection (d), provides that “the court shall consider whether

 the availability of appropriate substance abuse treatment programs, or an individual’s current

 or past participation in such programs, warrants an exception.”

        The Court has considered the statutory maximum sentence of three years pursuant to

 18 U.S.C. § 3583(e)(3). The Court has also considered the advisory policy statements set

 forth in Chapter Seven of the United States Sentencing Guidelines prior to imposing

 sentence. The guideline range is 33 to 36 months pursuant to U.S.S.G. § 7B1.4(a).

 Furthermore, the Court has considered the factors for sentencing listed in 18 U.S.C. §

 3553(a) and 3583(d).

        The Court hereby ADOPTS the Magistrate’s Report and Recommendation. (Dkt. #

 624). Based on this Court’s review of all relevant factors, the Court hereby orders that the

 Defendant’s supervised release is REVOKED, and the Defendant is sentenced to twenty-

 four (24) months imprisonment. Furthermore, the Defendant’s remaining term of supervised

 release is hereby terminated. Finally, the Court recommends that the Defendant be placed

 at FCI Memphis for service of his sentence.

        IT IS SO ORDERED.

 Issued: March 22, 2010                     s/ Peter C. Economus
                                            PETER C. ECONOMUS
                                            UNITED STATES DISTRICT JUDGE



                                               -3-
